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                      Case 3:14-cv-0108-PGS-DEA Document 17                          Filed 05/22/15     Page 1 of 1 PagelD: 132


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                                        Hon. Peter Sheridan, U. S.D.J.
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                                        United States District Court                                                            I   I


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                                               Re:    In Re Foster Wheeler AG Shareholder
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                                        Dear Judge Sheridan:

                                               This firm represents Defendants in the above-referenced consolidated litigation.
                                        We write to alert Your Honor that no proceedings have taken place in this dormant matter
                                        for more than a year and to respectftilly request that Your Honor direct the Clerk to
                                        dismiss the case for lack of prosecution pursuant to Local Civil Rule 41.1(a).

                                                By way of explanatory background, Plaintiffs’ respective March 12, 2014 and
                                        March 19, 2014 Complaints arose out of the same set of facts involving the merger of
                                        1)efendant Foster Wheeler AG and AMEC plc. More than one year ago, on April 17,
                                        2014, Judge Pisano entered a Stipulation and Consent Order (ECF No. 14) consolidating
                                        the litigation and ordering Plaintiffs to file a Consolidated Complaint “no later than
                                        fourteen (14) days” after defendant Foster Wheeler AG filed its Schedule 14D-9
                                        Recommendation Statement with the United States Securities and Exchange
                                        Commission. Foster Wheeler made the filing on October 7, 2014, and Plaintiffs’ time to
                                        file a Consolidated Complaint thus elapsed on October 21, 2014. Plaintiffs never filed a
                                        Consolidated Complaint and this case has been entirely dormant since Judge Pisano’s
                                        April 17, 2014 Order. Because no proceedings have taken place for well over 120 days,
                                        dismissal pursuant to Local Rule 4 1.1(a) is appropriate.

                                               We thank Your Honor for the consideration of this matter.
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                                                                                                    Very truly yours,

                                                                                                    /s/ James M. Altieri

                                                                                                    James M. Altieri
                                        cc:    All Counsel of Record via ECF
